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                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 UNITED STATES OF AMERICA                           §
                                                    §
 V.                                                 §    CASE NO. 1:14-CR-79(8)
                                                    §
 ROMANDO ALBERT STEWART                             §

         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

         The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate Judge,

 for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal Procedure.

 Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule of Criminal

 Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea Before the United

 States Magistrate Judge [Clerk’s Doc. #188]. The magistrate judge recommended that the Court accept

 the defendant’s guilty plea and conditionally accept the plea agreement and addendum. The magistrate

 judge also recommended that the Court accept the defendant’s guilty plea. He further recommended

 that the Court finally adjudge the defendant as guilty on Count Six of the First Superseding Indictment

 filed against the defendant in this cause.

         The parties have not objected to the magistrate judge’s findings. The Court ORDERS that the

 Findings of Fact and Recommendation on Guilty Plea [Clerk’s Doc. #188] of the United States




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 Magistrate Judge are ADOPTED.         The Court defers acceptance of the plea agreement and plea

 agreement addendum until after review of the presentence report.

        It is further ORDERED that, in accordance with the defendant’s guilty plea and the magistrate

 judge’s findings and recommendation, the defendant, Romando Albert Stewart, is hereby adjudged as

 guilty on Count Six of the First Superseding Indictment charging violations of 18 U.S.C. § 922(j)

        SIGNED this the 31 day of August, 2015.




                                       ____________________________
                                       Thad Heartfield
                                       United States District Judge




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